               Case 3:18-cv-05168-RBL Document 38 Filed 09/25/18 Page 1 of 4




 1                                                                  The Honorable Ronald B. Leighton
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12                               UNITED STATES DISTRICT COURT
13                              WESTERN DISTRICT OF WASHINGTON
14                                        AT TACOMA
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17   WHITNEY POOLE, individually and on                  No. 3:18-cv-05168-RBL
18   behalf of all others similarly situated,
19                                                       NOTICE OF SETTLEMENT
20                       Plaintiff,
21
22           v.
23
24   BENJAMIN MOORE & CO., INC., a New
25   Jersey corporation,
26
27                       Defendant.
28
29
30
31          Pursuant to LCR 11, Plaintiff Whitney Poole (“Ms. Poole”) and Defendant Benjamin
32
33   Moore & Co., Inc. (“Benjamin Moore”) hereby advise the Court that a settlement has been
34
35   reached between Ms. Poole and Benjamin Moore.
36
37          Counsel for the parties are currently drafting settlement documents. As soon as such
38
39   documents are executed and the settlement is otherwise finalized, Ms. Poole and Benjamin
40
41   Moore will file a stipulated notice of voluntary dismissal. The parties respectfully request that
42
43   60 days be allowed for them to do so, and that all case schedule deadlines be vacated.
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     NOTICE OF SETTLEMENT - 1                                        G O R DO N     600 University Street
     No. 3:18-cv-05168-RBL                                             T IL DE N    Suite 2915
                                                                      THOMAS        Seattle, WA 98101
                                                                     C O R DE L L   206.467.6477
             Case 3:18-cv-05168-RBL Document 38 Filed 09/25/18 Page 2 of 4




 1        DATED this 25th day of September, 2018.
 2
 3                                      GORDON TILDEN THOMAS & CORDELL LLP
 4                                      Attorneys for Plaintiff Whitney Poole
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                                                               THOMAS        Seattle, WA 98101
                                                              C O R DE L L   206.467.6477
             Case 3:18-cv-05168-RBL Document 38 Filed 09/25/18 Page 3 of 4




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                                                          C O R DE L L   206.467.6477
               Case 3:18-cv-05168-RBL Document 38 Filed 09/25/18 Page 4 of 4




 1                                      CERTIFICATE OF SERVICE
 2
 3           I hereby certify that on this 25th day of September, 2018, I electronically filed the
 4
 5   foregoing with the Clerk of the Court using the CM/ECF system, which will send notification of
 6
 7   such filing to all parties of record.
 8
 9           DATED this 25th day of September, 2018, at Seattle, Washington.
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11
12                                                  s/ Brendan Winslow-Nason
13                                                 Brendan Winslow-Nason, WSBA #39328
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     NOTICE OF SETTLEMENT - 4                                         G O R DO N     600 University Street
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                                                                       THOMAS        Seattle, WA 98101
                                                                      C O R DE L L   206.467.6477
